
OPINION OF THE COURT
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order reversed, without costs, and the sanction imposed pursuant to 22 NYCRR 130-1.1 (c) vacated because the reviewable record of the conduct of the appellant attorney during jury selection, which prompted the imposition of the sanction over two months later, is devoid of the required basis for concluding that the conduct, however else it could be characterized, was "frivolous” within the meaning of the sanctions rule.
Concur: Chief Judge Wachtler and Judges Simons, Kaye, Alexander, Titone, Hancock, Jr., and Bellacosa.
